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                                                         April 24, 2023

VIA FIRST CLASS MAIL

Judge Gary R. Brown
United States District Court
Eastern District of New York
100 Federal Plaza, Room 840
Central Islip, NY 11722

                                    Re:         Hugh Birthwright v. Advance Auto Parts
                                                Case No. 22-cv-00593

Dear Judge Brown:

        We are counsel for the Defendant. Defendant moved to dismiss the Complaint under Fed. R.
Civ. P. 12(b)(6) on the grounds that New York law does not provide a private right of action for a
violation of the payroll frequency provisions of New York Labor Law Section 191, the only cause of
action alleged in the Complaint. That motion is fully briefed and pending before the Court. We are
writing to alert the Court that the New York State Supreme Court, Appellate Division, Second
Department, heard oral argument in a case addressing this very issue in Grant v. Global Aircraft
Dispatch, Case No. 2021-03020, a case cited in Defendant’s brief. The lower court in Grant agreed with
Defendant here and dismissed a claim asserting a violation of the pay frequency provisions of NYLL
Section 191, holding the Legislature did not authorize a private right of action. See Grant v Global
Aircraft Dispatch, Inc., 2021 N.Y. Misc. LEXIS 11125 (Sup. Ct., Queens County Apr. 20, 2021). That
appeal was fully briefed a year ago, and last Friday, April 21, 2023, the court heard argument. We expect
a decision shortly. We are alerting the Court of this development should the Court wish to wait to receive
further guidance from the Second Department prior to issuing a decision on the pending motion to
dismiss.1

          Thank you for your attention to this matter.

                                                         Very truly yours,
                                                         JACKSON LEWIS P.C.

                                                         Jeffrey W. Brecher

                                                         JEFFREY W. BRECHER
4882-2416-5471, v. 1



1
 The oral argument can be found here at hour 2:04:
https://wowza.nycourts.gov/vod/wowzaplayer.php?source=ad2&video=OA_2023-04-21_09-59-39.mp4
